UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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    In re:                                                    )           Chapter 11
                                                              )
    CELSIUS NETWORK LLC, et al., 1                            )           Case No. 22-10964 (MG)
                                                              )
    Debtors.                                                  )           (Jointly Administered)
                                                              )

      ORDER GRANTING THE MOTION OF THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS (I) FOR AUTHORITY TO FILE A CLASS CLAIM
ASSERTING NON-CONTRACT CLAIMS ON BEHALF OF ACCOUNT HOLDERS OR
  (II) TO APPOINT A THIRD-PARTY FIDUCIARY TO ASSERT NON-CONTRACT
                CLAIMS ON BEHALF OF ACCOUNT HOLDERS

             Upon the motion [Docket No. 2399] (the “Motion”) 2 of the Committee for entry of an

order (this “Order”) authorizing the Committee and any specified lead claimant or claimants to

file the class claim or other representative action (as appropriate) asserting non-contract claims of

account holders against the Debtors, all as more fully set forth in the Motion; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of

Reference from the United States District Court for the Southern District of New York, entered

February 1, 2012; and this Court having found that it may enter a final order consistent with Article

III of the United States Constitution and that this matter is a core matter pursuant to 28 U.S.C.

§ 157; and this Court having found that venue in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having



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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
      LLC (3390); Celsius US Holding LLC (7956); GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited
      (0893). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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      Capitalized terms used but not defined herein have the meanings given to them in the Motion.
found that the notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and that no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court; and this Court having heard and considered any and all objections, reservations

of rights, and responsive pleadings filed with respect to the Motion and statements in support

thereof; and this Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED

THAT:

        1.     The Motion is granted as set forth in this Order.

        2.     Any objections filed with respect to the Motion are overruled with prejudice

        3.     Under Bankruptcy Rule 9014(c), Bankruptcy Rule 7023 shall apply in this matter.

The Committee and any specified lead claimant or claimants are authorized to file the class claim

asserting non-contract claims on behalf of account holders against CNL and any other Debtor. The

Committee shall serve this Order and the class claim on account holders by publication on the

Committee’s case website and by electronic mail using the service list provided by the Debtors’

claims and noticing agent.

        4.     The Committee is directed to file a motion under Bankruptcy Rule 7023 for

certification of the class claim as soon as is practicable after the filing of the Class Claim. The

Committee and other parties in interest shall meet and confer on a discovery and briefing schedule

with respect to class certification, which schedule shall be subject to approval by this Court. To

the extent the Court conducts a hearing on class certification, such hearing shall occur at or before

any hearing in connection with confirmation of a proposed chapter 11 plan for the Debtors. For




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the avoidance of doubt, litigation regarding class certification shall not preclude or delay any

litigation regarding the merits of the class claim.

       5.      The Committee shall assert the class claim in concert with a lead claimant(s) who

shall be an account holder(s) with amounts in Earn accounts. The rights of all parties in interest

to object to the allowance or certification of the class claim, or to the identity of the parties who

will act as class representatives with respect to the class claim, are fully preserved and may be

asserted in the claims allowance or certification litigation regarding the class claim.

       6.      The Committee and the lead claimant(s) shall evaluate claims for fraud, fraudulent

inducement, Ponzi scheme misconduct, negligent misrepresentation, restitution, and rescission as

potential class claims.

       7.      If a class is certified under Bankruptcy Rule 7023, the Committee shall provide

account holders with notice and an opportunity to opt-out of the prosecution, voting, and settlement

of the class claim, with such notice and opt-out procedures subject to approval by this Court.

       8.      All claimants’ rights under Section 1126 of the Bankruptcy Code and Bankruptcy

Rule 3018 are preserved.

       9.      The class claim shall only assert causes of action against the Debtors.

       10.     The Committee shall consult with the Securities Plaintiffs regarding the claims to

be asserted in the class claim.

       11.     The bar date for claims set forth in the Notice of Amended Bar Date for Submission

of Proofs of Claim [Dkt. No. 2310] is tolled pending an order of the Court with respect to the

certification of the putative class under Bankruptcy Rule 7023.

       12.     Nothing in this Order shall preclude the Committee from seeking any other relief

or asserting any other claim or cause of action.




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       13.    The Committee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       14.    This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from the implementation of this Order.



IT IS SO ORDERED.
Dated: April 18, 2023
       New York, New York

                                            _______/s/ Martin Glenn__________
                                                   MARTIN GLENN
                                            Chief United States Bankruptcy Judge




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